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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS



UNITED STATES OF AMERICA                                                   PLAINTIFF

vs.                                No.: 4:19CR00572-13 KGB

TEZZERA MARIE ROBERTS                                                      DEFENDANT



      DEFENDANT TEZZERA MARIE ROBERTS’ MOTION FOR CONTINUANCE

        Comes now, Defendant Tezzera Marie Roberts, by and through her legal counsel, Eric

Spencer Buchanan of The Buchanan Firm, P.A., and for her Motion for Continuance, states as

follows:

        1.      This matter is set for jury trial on November 25, 2019.

        2.      Counsel was appointed in this matter on or about October 24, 2019.

        3.      This matter requires additional time for discovery and preparation.

        4.      This motion is brought in good faith and not for the purpose of delay or any other

improper purpose.

        5.      This matter has not previously been continued.

        6.      No prejudice will result from the granting of a continuance, as such time would be

excludable under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(1)(G).

        7.      Counsel has communicated with Assistant United States Attorney Benecia B.

Moore; she is authorized to state that the government has no objection to this motion.

        8.      An Order continuing the trial one hundred twenty (120) days from the present

setting is requested in this matter.
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      WHEREFORE, Defendant prays that this Motion be granted, and for all the other just and

appropriate relief to which Defendant is entitled.




                                                     Respectfully submitted,
                                                     The Buchanan Firm, P.A.

                                                     /s/ Eric Spencer Buchanan
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